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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN

   UNITED STATES OF AMERICA, )
                                 )           Case No. 2:16-CR-20439-001
              Plaintiff,         )
                                 )           HON. MATTHEW F. LEITMAN
   v.                            )           U.S. DISTRICT JUDGE
                                 )
   CYNTHIA FLOWERS,              )
                                 )
                      Defendant. )


                   DEFENDANT CYNTHIA FLOWERS’ MOTION FOR
                  EARLY TERMINATION OF SUPERVISED RELEASE

          Defendant Cynthia Flowers, by and through undersigned counsel, submits

   this Motion for Early Termination of Supervised Release and Probation pursuant to

   Rule 32.1(b) of the Federal Rules of Criminal Procedure, 18 U.S.C. § 3583(e), and

   18 U.S.C. §3564(c), and based upon the following facts.

          On November 21, 2016, this Court sentenced Cynthia Flowers to a

   probationary term of twenty-four (24) months. Cynthia Flowers pled guilty to one

   count in violation of 31 U.S.C. § 5324. At that time, Ms. Flowers took responsibility

   for what she’d done; since sentencing, she has made amends for the harm she has

   caused, and set a path toward a better life. Ms. Flowers cooperated with the

   government at each phase of this case. From the inception of this matter, Ms.

   Flowers has apologized and paid restitution, though not ordered to do so. Ms.

   Flowers is in full compliance in all areas of supervision. She has completed payment
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   on her restitution obligation. Prior to filing this petition, defense counsel provided it to

   the supervising probation officer and the government.

                                         ARGUMENT

                    CYNTHIA FLOWERS IS A GREAT CANDIDATE
                FOR EARLY TERMINATION UNDER SECTION 3583(e)(1).

          Section 3583(e)(1) affords this Court the authority to grant early termination of

   a previously imposed term of supervised release. See United States v. Spinelle, 41

   F.3d 1056, 1058 (6th Cir. 1994); United States v. Lussier, 104 F.3d 32, 36 (2d Cir

   1997). The applicable statute provides:

          (e) Modification of condition or revocation. The court may, after
          considering the factors set forth in Section 3553(a)(1), (a)(2)(B),
          (a)(2)(C), (a)(2)(D), (a)(4), (a)(5), (a)(6), and(a)(7)(1) terminate a term
          of supervised release and discharge the defendant released at any
          time after the expiration of one year of supervised release, pursuant to
          the provisions of the Federal Rules of Criminal Procedure relating to
          the modification of probation, if it is satisfied that such action is
          warranted by the conduct of the defendant released and the interest of
          justice.

   18 U.S.C. §3583(e)(1); see also Fed. R. Crim. Procedure 32.1(c)(1), (2)(B) & (C)

   (providing for hearings for modifications of supervised release, unless the result is

   favorable to the person supervised and the government does not object after notice).

   Moreover, section 3583(e) directs the Court to consider the purposes of sentencing

   set forth in 18 U.S.C. § 3553(a)(1), (a)(2)(B), (a)(2)(C), (a)(2)(D), (a)(4), (a)(5), (a)(6)

   and (a)(7) in deciding whether to terminate a term of supervised release. The

   Judicial Conference has identified the following criteria to assess eligibility for early


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   termination:

          Officers should consider the suitability of early termination for
          offenders as soon as they are statutorily eligible. The general criteria
          for assessing whether a statutorily eligible offender should be
          recommended to the court as an appropriate candidate for early
          termination are as follows:

          1.    stable community reintegration (e.g., residence, family,
          employment);

          2.    progressive strides toward supervision objectives and in
          compliance with all conditions of supervision;

          3.     no aggravated role in the offense of conviction, particularly large
          drug or fraud offenses;

          4.    no history of violence (e.g., sexually assaultive, predatory
          behavior, or domestic violence);

          5.    no recent arrests or convictions (including unresolved pending
          charges), or ongoing, uninterrupted patterns of criminal conduct;

          6.      no recent evidence of alcohol or drug abuse;

          7.      no recent psychiatric episodes;

          8.      no identifiable risk to the safety of any identifiable victim; and

          9.     no identifiable risk to public safety based on the Risk Prediction
          Index (RPI).

   Guide to Judiciary Policy, Vol. 8E, Ch. 3 § 380.10(b), “Early Termination”

   (Monograph 109)(rev’d 2010)(emphasis added). Further, on February 16, 2012, the

   Honorable Robert Holmes Bell, Chair of the Committee on Criminal Law of the

   Judicial Conference, issued a memorandum to all United States District Court



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   Judges encouraging them to grant early termination of supervised release in

   appropriate cases as an effort to reduce expenditures in the probation and pretrial

   services programs. Terminating “appropriate cases before they reach their full term

   saves resources and allows officers to focus on offenders who continue to pose the

   greatest risk of recidivism.” Judge Bell’s memorandum notes that supervision costs

   approximately $3,938 per year per case. Analysis by the Administrative Office of the

   Courts indicates that offenders who received early termination were “arrested less

   often, for less serious charges, and were sentenced to terms of imprisonment less

   often.” Accordingly, “[f]rom a policy standpoint, it appears that the above criteria,

   when properly applied, does not jeopardize public safety.” Id.

                  Section 3583(e)(1) Factors Applied to Cynthia Flowers

          The applicable factors support Ms. Flowers’ request for relief. Ms. Flowers is

   the kind of candidate early termination is fashioned for. She has performed well

   during her period of supervised release: she has a stable job; she has a very caring

   family and strong community ties; she has had no new contacts with law

   enforcement, she has paid her special assessment, she has not engaged in any

   business venture related to the basis for the original Indictment, and she has

   cooperated with the U.S. Probation Office in any and every way that has been

   required of her. Ms. Flowers took her obligations to obey all conditions of her

   supervised release very seriously. Despite her conviction, Ms. Flowers has made a



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   positive contribution to society. Finally, Ms. Flowers poses no risk to public safety.

   Ms. Flowers’s age (46), gender (female), and lack of criminal history provide the

   Court with assurance that there is no need to incarcerate her to protect the public.

   See United States Sentencing Commission, Recidivism: Criminal History

   Computation of the Federal Sentencing Guidelines (2004)(showing that those in Ms.

   Flowers’ gender and age group have an especially low recidivism rates)1; see also

   United States v. Carmona-Rodriguez, 2005 WL 840464, *5 (S.D.N.Y. 2005)

   (observing that those defendants “over the age of 40 . . . exhibit markedly lower rates

   of recidivism in comparison to younger defendants.). Ms. Flowers low rate of

   recidivism places her among “the most empirically identifiable group of federal

   offenders who are least likely to offend.” United States Sentencing Commission,

   Recidivism and the “First Offender”, May 2004 17.2 Accordingly, she is an excellent

   candidate for relief under section 3583(e)(1).

                                            CONCLUSION

           Accordingly, Ms. Flowers respectfully requests this Court to GRANT her

   motion for early termination of supervised release, under 18 U.S.C. § 3583(e).




   1
             The    Sentencing        Commission’s  report    on     recidivism   is    available    at:
   http://www.ussc.gov/Research_and_Statistics/Research_Publications/2004/200405_Recidivism_Criminal_H
   istory.pdf.
   2         The Report is available at:
   http://www.ussc.gov/Research_and_Statistics/Research_Publications/2004/200405_Recidivism_First_Offe
   nder.pdf

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                                      Respectfully submitted,

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                                      ________________________
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   DATED: 12/11/2017




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                               CERTIFICATE OF SERVICE

          I hereby certify that on December 11, 2017, I electronically filed Defendant’s

   Motion for Early Termination of Supervised Release with the Clerk of the Court,

   using the CM/ECF system, which will send notification of such filing to the following:

   Stephen L. Hiyama, Esquire
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                                              /s/ Allison Folmar
                                              ________________________
                                              ALLISON FOLMAR




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